Ease 1:10-6v-00818-RDB Document 126 Filed 07/29/11 Page 1 of 8

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Master Docket No. 103@V.-0031 8 (RDB)

THIS DOCUMENT RELATES TO:
ALL ACTIONS
STIPULATION AND ORDER
REGARDING EAST COAST COLORANTS LLC’S
MOTION TO INTERVENE

East Coast Colorants LLC d/b/a Breen Color Concentrates (“Breen”); Plaintiffs Haley
Paint Company and Isaac Industries, Inc. (collectively, “Plaintiffs’’); and Defendants E.]. du Pont
de Nemours and Company (“DuPont”), Huntsman International LLC (“Huntsman”), and Kronos
Worldwide, Inc. (“Kronos”) and Millennium Inorganic Chemicals Inc. (collectively,
“Defendants”) stipulate as follows:

1. On July 13, 2011, Breen moved to intervene in the above action as a named

plaintiff and proposed class representative. (Dkt. 164). Plaintiffs’ counsel support this motion.

2. Breen agrees that it will be bound by all previous rulings of this Court, including
Case Management Order No. 1 and the Scheduling Order.

3, Breen agrees that as a new plaintiff in this action, it will adopt the Consolidated
Complaint as its active complaint against Defendants. Breen also agrees that the Defendants’

respective Amended Answers to that Consolidated Complaint will serve to join issue with

Breen’s claims against Defendants, and Defendants will not have to file any additional Answers

Case 1:10-cv-00318-RDB Document 126 Filed 07/29/11 Page 2 of &

with respect to Breen’s claims.

4, Plaintiffs and Defendants agree that they will not use Breen’s appearance as a
new plaintiff to seek changes to any of the previous rulings by this Court.

5. Without admitting anything regarding the validity of Breen’s claims or its
adequacy as a class representative, Defendants consent to Breen’s intervention in the above
action.

6. Nothing in this stipulation either authorizes or prohibits Breen and Plaintiffs from

seeking to assert additional claims at a later time.

Respectfully submitted,

Dated: July 29, 2011 GOLD BENNETT CERA & SIDENER LLP

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€ase 1:10-ev-00318-RDB Document 176 Filed 07/29/11 Page 3 of 8

Dated: July 29, 2011

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Ease 1:10-6y-00318-RDB Document 120 Filed O7/29/11 Page 4 of 8

Dated: July 29, 2011

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Dated: July 29, 2011

Dated: July 29, 2011

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Case 1:10-cv-00318-RDB Document 176 Filed O7/29/11 Page 6 of B

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Dated: July 29, 2011 LOCKE, LORD, BISSELL & LIDDELL LLP

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Millennium Inorganic Chemicals Inc.

IT IS HEREBY ORDERED:

1. East Coast Colorants LLC d/b/a Breen Color Concentrates is added as a plaintiff and
named putative class representative to the above action; and

2. The claims asserted in the Consolidated Complaint shall be deemed as asserted by
East Coast Colorants LLC d/b/a Breen Color Concentrates.

3. The Defendants’ Amended Answers to the Consolidated Complaint shall be deemed
to have been filed and served on East Coast Colorants LLC d/b/a Breen Color
Concentrates on the respective dates that they were served on Plaintiffs Isaac
Industries, Inc. and Haley Paint Company.

4, East Coast Colorants LLC d/b/a Breen Color Concentrates shall be bound by all

previous rulings by this Court, including Case Management Order No. 1 and the

Scheduling Order.

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IT IS FURTHER ORDERED that the Clerk of this Court is directed to add East Coast
Colorants LLC d/b/a Breen Color Concentrates as a plaintiff in this matter and, as such, said
plaintiff shall be added to this Court’s docket and in the caption in all future filings and

documents in this case.

Dated: LA D>, Be!

Richard D. Bennett, U.S.D.J.
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